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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                 MIAMI DADE DIVISION

 DOUGLAS LONGHINI, Individually,                  :
                                                  :
                Plaintiff,                        :
                                                  :
 vs.                                              :      Case No.:
                                                  :
 SUNSHINE GASOLINE DISTRIBUTORS,                  :
 INC., a Florida Corporation,                     :
                                                  :
             Defendant(s).                        :
 ______________________________________/


                                           COMPLAINT
                                    (Injunctive Relief Demanded)


        Plaintiff, DOUGLAS LONGHINI, Individually, and on behalf of all other mobility

 impaired individuals similarly situated, (sometimes referred to as “Plaintiff”), hereby sues the

 Defendants, SUNSHINE GASOLINE DISTRIBUTORS, INC.., a Florida Corporation,

 (sometimes referred to as “Defendant”), for Injunctive Relief, attorney’s fees, litigation

 expenses, and costs pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq.

 (“ADA”).

 1.     Plaintiff, Doug Longhini, is an individual residing in Miami, Florida, in the County of

        Miami-Dade, whose address is 5205 SW 141st Avenue, Miami, FL 33175.

 2.     Defendants property, Exxon Gas Station is located at 9010 NW South River Drive,

        Medley, FL 33166, in the County of Miami-Dade.

 3.     Venue is properly located in the Southern District of Florida because venue lies in the

        judicial district of the property situs. The Defendant’s property is located in and does

        business within this judicial district.
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 4.    Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given original

       jurisdiction over actions which arise from the Defendants violations of Title III of the

       Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28 U.S.C. § 2201

       and § 2202.

 5.    Plaintiff Douglas Longhini is a Florida resident, is sui juris, and qualifies as an individual

       with disabilities as defined by the ADA. Douglas Longhini has cerebral palsy and

       requires the use of a wheelchair to ambulate. Mr. Longhini has very limited use of his

       hands and cannot operate any mechanisms which require tight grasping or twisting of the

       wrist.

 6.    Mr. Longhini regularly visits the Town of Medley and the Hialeah area to see his friends

       to eat, to shop, to participate in the culture activities the city offers, and in conjunction

       with his activities as an advocate for disabled rights. Mr. Longhini has been to the

       subject property on several occasions, including on April 8, 2021, when he went to the

       subject property to get gas to test for ADA compliance, together with an ADA expert.

       Mr. Longhini intends to return to the subject gas station in the near future, as a customer,

       and to confirm that the subject gas station is brought into compliance with the ADA.

 7.    Defendant owns, leases, leases to, or operates a place of public accommodation as

       defined by the ADA and the regulations implementing the ADA, 28 CFR 36.201(a) and

       36.104. Defendant is responsible for complying with the obligations of the ADA. The

       place of public accommodation that the Defendants own, operate, lease or lease to is

       known as Exxon Gas Station is located at 9010 NW South River Drive, Medley, FL

       33166.



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 8.    Douglas Longhini has a realistic, credible, existing and continuing threat of

       discrimination from the Defendant’s non-compliance with the ADA with respect to the

       property as described but not necessarily limited to the allegations in paragraph 10 of this

       complaint.   Plaintiff has reasonable grounds to believe that he will continue to be

       subjected to discrimination in violation of the ADA by the Defendant. Douglas Longhini

       desires to visit the Exxon Gas Station, not only to avail himself of the goods and services

       available at the property, but to assure himself that this property is in compliance with the

       ADA so that he and others similarly situated will have full and equal enjoyment of the

       property without fear of discrimination.

 9.    The Defendants have discriminated against the Plaintiff by denying him access to, and

       full and equal enjoyment of, the goods, services, facilities, privileges, advantages and/or

       accommodations of the buildings, as prohibited by 42 U.S.C. § 12182 et seq.

 10.   The Defendants have discriminated, and are continuing to discriminate, against the

       Plaintiff in violation of the ADA by failing to, inter alia, have accessible facilities by

       January 26, 1992 (or January 26, 1993, if Defendant has 10 or fewer employees and gross

       receipts of $500,000 or less). A preliminary inspection of the Exxon Gas Station has

       shown that violations exist.    These violations that Douglas Longhini has personally

       encountered or observed include, but are not limited to:

              Entrance Access and Path of Travel

          a) The plaintiff had difficulty traversing the path of travel, as it was not continuous
             and accessible. Violation: There are inaccessible routes between sections of the
             facility. These are violations of the requirements in Sections 4.3.2(2), 4.3, and 4.5
             of the ADAAG and Sections 206.2.2, 303, 402 and 403, whose resolution is
             readily achievable.



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          b) The plaintiff had difficulty traversing the path of travel due to abrupt changes in
             level. Violation: There are changes in levels of greater than ½ inch, violating
             Sections 4.3.8 and 4.5.2 of the ADAAG and Section 303 of the 2010 ADA
             Standards, whose resolution is readily achievable.

          c) The plaintiff had difficulty traversing the path of travel, as there are cross slopes
             in excess of 2%. Violation: The path of travel contains excessive cross slopes in
             violation of Section 4.3.7 of the ADAAG and Section 403.3 of the 2010 ADA
             Standards, whose resolution is readily achievable.

          d) The plaintiff could not enter the store without assistance, as the required level
             landing is not provided. Violation: A level landing that is 60 inches minimum
             perpendicular to the doorway is not provided at accessible entrances violating
             Section 4.13.6 and Figure 25(a) of the ADAAG and Section 404.2.4 of the 2010
             ADA Standards, whose resolution is readily achievable.

          e) There are objects on the path of travel at the facility that protrude more than the
             maximum allowable, violating Section 4.4.1 of ADAAG and Section 307.2 of the
             2010 ADA Standards, whose resolution is readily achievable.

             Access to Goods and Services

          f) The plaintiff could not use the sales counters without assistance, as they are
             mounted too high. Violation: There are sales counters at the facility in excess of
             36” high, violating Section 7.2(1) of the ADAAG and Section 904.4 of the 2010
             ADA Standards, whose resolution is readily achievable.

          g) There is seating provided at the facility that does not comply with the standards
             prescribed in Section 4.32 of the ADAAG and Sections 226 & 902 of the 2010
             ADA Standards, whose resolution is readily achievable.

             Public Restrooms

          h) There are permanently designated interior spaces without proper signage,
             violating Section 4.1.3(16) and 4.30 of the ADAAG and Sections 216.2 and 703
             of the 2010 ADA Standards, whose resolution is readily achievable.

          i) The plaintiff had difficulty entering the restroom without assistance, as the door
             threshold is too high. Violation: There are threshold rises in excess of ½ inch at
             the restroom entrances, violating Section 4.13.8 of the ADAAG and Section
             404.2.5 of the 2010 ADA Standards, whose resolution is readily achievable.

          j) The plaintiff could not transfer to the toilet without assistance, as the grab bars are
             missing. Violation: The grab bars do not comply with the requirements prescribed


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             in Section 4.16.4 and Figure 29 of the ADAAG and Sections 604.5 and 609 of the
             2010 ADA Standards, whose resolution is readily achievable.

          k) The plaintiff was exposed to a cutting/burning hazard because the lavatory pipes
             are not wrapped. Violation: The lavatory pipes are not fully wrapped or
             maintained violating Section 4.19.4 of the ADAAG and Section 606.5 of the 2010
             ADA Standards, whose resolution is readily achievable.

          l) The plaintiff could not use the mirror, as it is mounted too high. Violation: The
             mirrors provided in the restrooms are in violation of the requirements in Section
             4.19.6 of the ADAAG and Section 603.3 of the 2010 ADA Standards, whose
             resolution is readily achievable.

          m) The plaintiff could not use the lavatory faucets without assistance, as they are not
             operating correctly and not maintained. Violation: The hand-operated metering
             faucets do not remain open for 10 seconds minimum violating Section 4.19.5 of
             the ADAAG, 28 CFR 36.211, and Section 606.4 of the 2010 ADA Standards,
             whose resolution is readily achievable.

          n) The plaintiff could not transfer to the toilet without assistance, as a trashcan
             obstructs the clear floor space. Violation: The required clear floor space is not
             provided next to the toilet, violating Section 4.16.2 & Figure 28 of the ADAAG,
             28 CFR 36.211, and 604.3 of the 2010 ADA Standards, whose resolution is
             readily achievable.

          o) The plaintiff had difficulty using the toilet without assistance, as it is not mounted
             at the required distance from the side wall. Violation: The water closet is mounted
             at a non-compliant distance from the side wall, violating Section 4.16.2 and
             Figure 28 of the ADAAG and Section 604.2 of the 2010 ADA Standards, whose
             resolution is readily achievable.

          p) The plaintiff could not enter the restroom without assistance, as the required level
             landing is not provided. Violation: A level landing that is 60 inches minimum
             perpendicular to the doorway is not provided at the restroom violating Section
             4.13.6 and Figure 25(a) of the ADAAG and Section 404.2.4 of the 2010 ADA
             Standards, whose resolution is readily achievable.


       Maintenance


          j) The accessible features of the facility are not maintained, creating barriers to
             access for the Plaintiff, as set forth herein, in violation of 28 CFR 36.211.



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 11.   All of the foregoing violations are also violations of the 1991 Americans with Disabilities

       Act Accessibility Guidelines (ADAAG), and the 2010 Standards for Accessible Design,

       as promulgated by the U.S. Department of Justice.

 12.   The discriminatory violations described in paragraph 10 are not an exclusive list of the

       Defendants ADA violations. Plaintiff requires the inspection of the Defendant’s place of

       public accommodation in order to photograph and measure all of the discriminatory acts

       violating the ADA and all of the barriers to access. The individual Plaintiff, and all other

       individuals similarly situated, have been denied access to, and have been denied the

       benefits of services, programs and activities of the Defendants buildings and its facilities,

       and have otherwise been discriminated against and damaged by the Defendants because

       of the Defendant’s ADA violations, as set forth above. The Plaintiff, and all others

       similarly situated, will continue to suffer such discrimination, injury and damage without

       the immediate relief provided by the ADA as requested herein. In order to remedy this

       discriminatory situation, the Plaintiff requires an inspection of the Defendant’s place of

       public accommodation in order to determine all of the areas of non-compliance with the

       Americans with Disabilities Act.

 13.   Defendant has discriminated against the individual by denying him access to full and

       equal enjoyment of the goods, services, facilities, privileges, advantages and/or

       accommodations of their places of public accommodation or commercial facilities in

       violation of 42 U.S.C. § 12181 et seq. and 28 CFR 36.302 et seq. Furthermore, the

       Defendant continues to discriminate against the Plaintiff, and all those similarly situated

       by failing to make reasonable modifications in policies, practices or procedures, when



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        such modifications are necessary to afford all offered goods, services, facilities,

        privileges, advantages or accommodations to individuals with disabilities; and by failing

        to take such efforts that may be necessary to ensure that no individual with a disability is

        excluded, denied services, segregated or otherwise treated differently than other

        individuals because of the absence of auxiliary aids and services.

  14.   Plaintiff is without adequate remedy at law and is suffering irreparable harm.

        Considering the balance of hardships between the Plaintiff and Defendant, a remedy in

        equity is warranted.    Furthermore, the public interest would not be disserved by a

        permanent injunction. Plaintiff has retained the undersigned counsel and is entitled to

        recover attorney’s fees, costs and litigation expenses from the Defendants pursuant to 42

        U.S.C. § 12205 and 28 CFR 36.505.

  15.   Defendant is required to remove the existing architectural barriers to the physically

        disabled when such removal is readily achievable for its place of public accommodation

        that have existed prior to January 26, 1992, 28 CFR 36.304(a); in the alternative, if there

        has been an alteration to Defendant’s place of public accommodation since January 26,

        1992, then the Defendant is required to ensure to the maximum extent feasible, that the

        altered portions of the facilities are readily accessible to and useable by individuals with

        disabilities, including individuals who use wheelchairs, 28 CFR 36.402; and finally, if the

        Defendants facilities are ones which were designed and constructed for first occupancy

        subsequent to January 26, 1993, as defined in 28 CFR 36.401, then the Defendant’s

        facilities must be readily accessible to and useable by individuals with disabilities as

        defined by the ADA.



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 16.   Notice to Defendant is not required as a result of the Defendant’s failure to cure the

       violations by January 26, 1992 (or January 26, 1993, if Defendants has 10 or fewer

       employees and gross receipts of $500,000 or less). All other conditions precedent have

       been met by Plaintiff or waived by the Defendant.

 17.   Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant Plaintiff

       Injunctive Relief, including an order to require the Defendants to alter the gas station to

       make those facilities readily accessible to and useable by the Plaintiff and all other

       persons with disabilities as defined by the ADA; or by closing the facilities until such

       time as the Defendant cures its violations of the ADA.

 WHEREFORE, Plaintiff respectfully requests:

       a.     The Court issue a Declaratory Judgment that determines that the Defendants at the

              commencement of the subject lawsuit is in violation of Title III of the Americans

              with Disabilities Act, 42 U.S.C. § 12181 et seq.

       b.     Injunctive relief against the Defendant including an order to make all readily

              achievable alterations to the facilities; or to make such facilities readily accessible

              to and usable by individuals with disabilities to the extent required by the ADA;

              and to require the Defendant to make reasonable modifications in policies,

              practices or procedures, when such modifications are necessary to afford all

              offered goods, services, facilities, privileges, advantages or accommodations to

              individuals with disabilities; and by failing to take such steps that may be

              necessary to ensure that no individual with a disability is excluded, denied




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             services, segregated or otherwise treated differently than other individuals

             because of the absence of auxiliary aids and services.

       c.    An Order that shall require the Defendant to maintain the required accessible

             features on an ongoing basis.

       d.    An award of attorney’s fees, costs and litigation expenses pursuant to 42 U.S.C.

             § 12205.

       e.    Such other relief as the Court deems just and proper, and/or is allowable under

             Title III of the Americans with Disabilities Act.



             Dated: July 7, 2021             Respectfully Submitted,


                                             /s/ John P. Fuller______________
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